 

 

SHAREESE PETERS .IACKSON

 

CIRCUIT CIVIL

CASE SUMMARY
CASE NO. 2017-026994-CA-01

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§ . Location: Circuit Civil
vs § Judicial Off'lcer: (Section, CA 32)
MIAMI-DADE COUNTY et al § Filed on: 11/22/2017
§ State Case Nurnber: 132017CA026994000001
§
CASE lNFORMATlON
Case Type: Other Civil Complaint
DA'I`E CASE ASSIGNM'ENT
Current Case Assigoment
Case Number 2017-0269`94-€A_01
Court Circuit Civi]
Date Assigned 11/22/2017
Judicial Officer _ (Section, CA 32)
PARTY lNFORMATION
Lead Attomeys
Plaintii'f PETERS JACKSON, SHAREESE Fernandez, Andres F
Retac'necz'
305-329-2990(W)
Defendant M'IAMI-DADE COUNTY
SLlMACK, MARK H.

D‘\'rn EVENTS & ORDERS OF THE C()LIRT INDEX
02/09/2013 a Service Retumcd lndex # 7
02/02/2018 20 Day Summons Issued

MIAM_I-DADE COUNTY

Unserved

SLlMACK, MARK H.

Unserved
02/02/2{)18 20 Day Summons ISSued Index # 4
02/02/2013 Amended Complajnt I”dex # 6
11/22/2017 Civil COVer him # 1

DATE FIN!\NC]AL lNFOR’l\'lATlON

Plaintil'f PETERS JACKSON, SHAREESE

Total Charges 401.00

Total Payrnents and Credit§ 401.00

Balance Due as of 2/21/2018 0.00

 

PAGE 1 OF l

Pr:`nred on 02/21/2018 at 11:07 AM

 

 

 

 

 

 

Filing # 64513861 E-Filed 11/22/2017 08;56:03 AM

FORlVl 1.997. C|V|L COVER SHEET

 

The civil cover sheet and the information contained in it neither replace nor supplement the tiling and service of pleadings
or other,documents as required by law. This form must be filed by the plaintiff Or petitioner for the use of the C|erk of
Couit for the purpose of reporting judicial workload data pursuant to section 25.075, Florida Statutes. (See instructions for

 

 

 

 

completion.)
l. CASE STYLE
' |N THE CIRCUlT COURT OF THE ELEVEN'IH JUD|C|AL C|RCU|Tl
|N AND FOR l\/HAMI-DADE COUNTY, FLOR|DA
Case No.: /?"`26‘??¢/ é’; f /
Judge:
SHAREESE PETERS JACKSON
Plaintiff
vs.
MAMI-DADE COUNTY MARK H. sLIMACK
Defendant
l|. TYPE OF CASE
§ Non-homestead residential foreclosure
g Condominium $250,00 or more
§ Contracts and indebtedness g ethel real PFOPEFW actiO|'\S $O " $50.000
g Emineni domain § Other real property actions $50,001 - $249,999
g Aiite negligence § Other real property actions $250,000 or more
§ Negligence - other _ _
i:i Business governance § Professiona| malpractice
E Business inns § Nlalpractice - business
§ Environmenta|/Toxic tort g Ma|pra°t!°e _ med'°a| _
i:i -i-iiin_i nancy indemnification § |Vla|practioe - other professional
§ Construction defect § Other ` '_ _
i:i iiiiass inn § AntitrustlTrade Regulation
E Negiigent security § Business Transaction
§ Nursing home negligence § Circu'rt Civi| - Not App|icab|e
E Pieniises iiabiiiiy _ commerciai § Constitutiona| challenge-statute or
_ d-
§ Premises liability - residential or ma.nc¢.e
i:i Prodiicis iiabiiity § Constiiitutioria| challenge-proposed
_ amen men
§ Rea| Propertyll\i|ortgage foreclosure g Coipoiaie Tnisis
g C°mmer°fa| foreclosure $0 ' $50'000 § Discrimination-employment or other,
§ Commercia| foreclosure $50,00‘| -$249,999 g insurance i_J_iaiins
§ Commercial foreclosure $250,000 or more g ii.iieiieciiiai property
§ Homestead residential foreclosure $0 - 50,000 g i_ibeii,Siandei
§ §;:i;e§;;ad residential foreclosure $50,001 - g Snaieiioidei di_:nivaiiiiie action
i:i Homesieaci residential foreclosure $250,000 or g Se°u"t'es "“gat'°"
more § Trade secrets
§ Non-homestead residential foreclosure $0 - g Trust |'t'gat'°n
sso,ooo .
§ Non-homestead residential foreclosure

 

$50,001 - $249,999

 

 

 

COlV| PLEX BUS|NESS COU RT

This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
Administrative Order. Yes § No

Vl.

Vll.

RElVlED|ES SOUGHT (check all that apply):
liflonetary;

§ Non-monetaiy declaratory or injunctive relief;
_Punitive

NUMBER OF CAUSES OF ACT|ON: ( )

(Specify)

§

lS TH|S CASE A Cl_ASS ACT|ON LAWSUIT?
§ Yes
No

HAS NOT|CE OF ANY KNOWN RELATED CASE BEEN FlLED?
No
§ Yes - lf "yes" list all related cases by name, case number and court:

IS JURV TR|AL DElli'|ANDED lN CON|PLA|NT?
Yes

§No

 

l CERT|FY that the information l have provided in this cover sheet is accurate to the best of my knowledge and belief, and
that l have read and will comply with the requirements of Florida Rule of Judicial Administration 2.425.

Signature S/ Andres F Fernandez FL Bar No.: 111967
Attorney or party _ (Bar number, if attorney)

Andres F Fernandez 11/22/2017

(Type or print name) Date

 

 

Filjng # 64513_)861 E-Filed 11/22/2017 08:56:03 AM

iN THE cIRCUIT COURT or THE 11*h
JUDICIAL ciRcUtT iN AND son
MtAi\/n-DADE COUNTY, FLOR]DA

SHAREESE PETERS JACKSON, CASE NO. :
Plaintiff,

v.

MIAMI-DADE COUNTY, a municipal entity;

MARK H. SL[MACK, in his individual and

his official capacity as a Miami-Dade County

Police Oflicer,

Def`endants.
/

 

QM

Plaintiff, SHAREESE PETERS JACKSON (“Ms_ JACKSON”), by and through
undersigned counsel, sues Defendants, MIAMI-DADE COUNTY (“MIAMI-DADE COUNTY”
or the “COUNTY”), and MARK H. SL[MACK (“SL[N,[ACK”), and in support thereof alleges as
follows:

JURISDICTION AND VENUE

1. This is an action for damages in excess of Fifteen thousand dollars ($15,000.00),
exclusive of attorneys’ fees, costs, and interest

2. Pla.intist claims arise pursuant to the Civil Rights Act of 1871, 42 U_S.C_
§1983, 42 U.S_C. § 1988, and the Fourth and Fourteenth Arnendrnents of the United States
Constitution, as Well as under the laws of the State of Flon`da.

3. This action arises from the excessive use of force against, and the unlawful
detention and arrest of, SHAREESE PETERS ]ACKSON by Defendant SLIMACK, a Miami-
Dade County Police officer, in violation of Ms_ JA_CKSON’s constitutionally protected rights as

guaranteed by the United States Constitution, the laws of the State of Florida, and common law.
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4. All conditions precedent to the maintenance of this action have been performed or
have occurred prior to the filing of this action, including the notice requirements set forth in
Florida Statute § 768.28. A copy of the notice letter provided by Plaintiff is attached to this
Complaint as Exhibit A.

PARTIES

5. Plaintiff, SHAREESE PETERS JACKSON, is a resident of Miarni-Dade County,
Florida and is otherwise Sui juris_

6_ Ms. ]ACK-SON is an African-American female, Who is 5’3’-’ tall and, at all
material times to this Complaint, Weighed approximately_lOS poundsl

7. Defendant, MlAl\/[[-DADE COUNTY, is a political subdivision of the State of
Florida.

8. MlAMI-DADE COUNTY operates and controls and the Miami-Dade Police
Department (“l\/[DPD”), its police officers, employees, agents, and representatives, including1 but
not limited to, Defendant SLIMACK.

9_ At all material times, Defendant SL]MACK Was employed by the MDPD as a
police'officer and Was acting within the course and Scope of his employment with the l\/IDPD,
which department is, in tum, operated and controlled by Defendant MlAMI-DADE COUNTY.

10. At all material times, Defendant SL]MACK was licensed by the State of Florida
to work as a police officer, and is otherwise sui juris

ll_ Defendant SL[MACK is being sued in his individual capacity, as well as in his
official capacity for his actions as a police officer for the MDPD.

12. Defendant SLIMACK’s MDPD badge number is 4512.

 

 

 

 

 

GENERAL ALLEGATIONS APPLICABLE TO ALL COUNTS

13_ On or about January 1, 2014, Defendant SLIMACK responded to a call involving
an alleged fight at Hunter’s Hurricane Lounge, located at 29301 S_W. 152nd Avenue, in
Homestead, Miami-Dade County, Florida (“Hunter’s Lounge”).

'14. ()utside of Hunter’s Lounge, Defendant SLIMACK illegally and deliberately used _
excessive force and unlawfully arrested Ms JACKSON, in violation of multiple Miarni-Dade
County Police Department policies and well-established law.

l 15. Defendant SLIMACK’s actions resulted in Ms JACKSON suffering serious
injuries and other damages

16. Defendant SLll\/IACK’s use of excessive force and his unlawful arrest of l\/[s
JACKSON resulted in Ms. JACKSON being detained for 24 hours in a holding cell and suffering
severe injuries

17. Upon information and belief, Defendant SL]MACK has been employed as a
police officer with the MDPD since at least 1998.

18. Upon information and belief, during the term of Defendant SLIl\/IACK’s
employment as a police officer with the MDPD, the l\/lDPD’s Professional Compliance Bureau’-s
Internal Affairs Section has received at least sixteen (16) complaints against Defendant
SLIMACK (the “lnternal Alfairs Complaints”).

19. At least ten (10) of the sixteen (16) Internal Affairs Complaints against Defendant
SLIMACK involved the alleged use of excessive force by Defendant SLIMACK_

20_ Upon information and belief, approximately 85% of the lnternal Affairs
Complaints against Defendant SL]MACK have come from ethnic minoritiesJ and 100% of them

have been filed either by ethnic minorities or women

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21. Prior to the incident that is the subject of this action, Ms_ JACKSON had suffered

a broken jaw and had undergone two surgeries to correct it -- one on November 26, 2013 and the
other on December 23, 2013_

22. As part ~of Ms JACKSON’s post-operative treatment, she was prescribed pain
medication to alleviate the pain resulting from her surgeries

23_ On December 31, 2013, Ms. JACKSON accompanied her fiancé, Willie Allen,
and her cousin, Eugene Peters, to l-Iunter’ s Lounge to celebrate the New Year.

24. While at Hunter’s Lounge, Ms. JACKSON’s fiance and her cousin were harassed
by a group of men who appeared to be trying to start a fight

25. Shortly thereafter, the MDPD received a complaint regarding a fight at Hunter’s
Lounge, and Defendant SLIMACK responded to the call

26. When Defendant SLIMACK arrived at Hunter’s Lounge, Ms_ JACKSON, her
fiancé, and her cousin were standing outside the premises waiting for the police to arrive

27. Upon seeing Defendant SLIMACK, Ms JACKSON immediately requested his
help, and specifically told him that she was recovering from a broken jaw.

28_ Defendant SL[MACK responded by pushing Ms. JACKSON aside, telling her
that he was not there for her_

29. Defendant SL[MACK then entered Hunter’s Lounge and, after not finding the
alleged fight, went back outside to speak with Ms_ JlXCKSON.

30. At that point, when Defendant SLIMACK attempted to speak With Ms_
JACKSON, she refused to talk to him and told him that he had behaved like an “asshole” and no

longer needed his help.

 

 

\31. In response to Ms. JACKSON’s comment, Defendant SL]MACK grabbed Ms.

JACKSON by the arm and the back of the neck, and violently slammed her face and upper body
against his marked police car.

32_ As Defendant SLIMACK continued to smash Ms. JACKSON’s face and jaw
against his police vehicle, he told her that “since [she had] called [him] an asshole, [he would] _ n
show [her] an asshole.” 7

33. Defendant SL[MACK then beganlto choke Ms. JACKSON by pushing her face
down With increasing force against his marked police car.

34. By this point, Ms. JACKSON was in excruciating pain and kept telling Defendant
SLIMACK: “You’re choking mel You’re supposed to help me.”

35. Defendant SLlMACK then ordered Ms. JACKSON to put her hands behind her
back_ Ms. JACKSON promptly complied and Defendant SLIMACK proceeded to handcuff her_

36_ Defendant SL]l\/IACK then told Ms. JACKS()N that he could smell alcohol on
her and accused her of being drunk.`

37. Ms. JACKSON then informed Defendant SLIMACK that she had not been
drinking because she was taking a prescription medication because of her broken jaw and her
surgeries

38, 7 Ms_ JACKSON specifically and repeatedly asked Defendant SL]MACK to give
her a breathalyzer test.

39_ Despite Ms JACKSON’s insistence, Defendant SLIMACK refused to conduct a
breathalyzer or any type of field sobriety test, and simply arrested Ms JACKSON for alleged

disorderly intoxicationl

 

 

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40. 7 During the entire time Ms JACKSON interacted with Defendant SL[MACK, Ms
JACKSON refrained from any actions that would be deemed as inciting violence or asa breach
of the peace

4l. Defendant SL]MACK then transported Ms JACKSON to a holding cell where
she was detained for approximately 24 hours

42. During her detention, Ms. JACKSON repeatedly complained about the Severe
pain in her jaw and asked for medical assistance However, despite her pleas, Ms JACKSON
was not provided with any medical assistance

1 43_ During her detention, Ms. JACKSON’s jaw began to swell significantly

44. Following Ms JACKSON’s release, her jaw continued to swell and the pain
progressively worsenedl l

45_ A few days later, on or about .Tanuary 8, 2014, Ms JACKSON was unable to
withstand the pain from her swollen jaw and sought medical attention Upon examining Ms
JACKSON, her physician informed her that her jaw had become seriously infected, and he
prescribed antibiotics

46. Although Ms JACKSON took the antibiotics prescribed by her doctor, her jawJ
continued to swell and her pain worsened.

47. Several days after that,‘ on or about January 12J 2014, Ms. JACKSON’s jaw began
to ooze pus, and she had to be taken to the emergency room_

48. Ms' JACKSON was subsequently admitted to the hospital Where she remained
hospitalized for almost one Week.

49. During her hospitalization Ms JACKSON was treated for the infection in her
jaw, and the procedure that had to b`e performed to drain the affected area resulted in permanent

l scarring to Ms JACKSON’s face

 

 

 

50. The unfounded charge of -“disorderly intoxication” alleged by Defendant

SLIMACK against Ms JACKSON was dismissed

51. ln addition to the foregoing allegations involving Defendant SL]MACK’s use of
excessive force against Ms. JACKSON, the MDPD’s lntemal Affairs records also show that
Defendant SLIMACK has been the subject of numerous similar complaints evidencing _
Defendant SLIMACK’s continued practice and use of excessive force.

52. All MDPD officers, including Defendant SL]MACK, are subject to the
procedures set forth in Chapter 31 of the Miami Dade Police Department Standard Operating
Procedures governing MDPD officers’ use of force (the “MDPD Procedures”). \

53_ Despite being subject to the l\/l]I)PD Procedures, on January l, 20]4, Defendant
SL]MACK failed to comply with the standards set forth in these Procedures, which resulted not
only in Ms JACKSON being unlawfully arrested, but also in her suffering serious injury and
scarring to her face

54. Defendant MlAMI-DADE COUNTY failed to adequately train and educate
MDPD police officers, including Defendant SL[MACK, in the use of reasonable and proper
force, and failed to enforce the l\/lDPD Procedures.

55. In addition, Defendant MlAMI-DADE COUNTY failed _to conduct any
investigation into whether there were policies and training in place to prevent the incident at
issue in this Complaint, or whether Defendant SLIMACK conducted himself properly and in
compliance with the MDPD Procedures.

56. Defendant MIAMI-DADE COUNTYJ specifically with the knowledge of the
MDPD’s Police Chief, J.D. Patterson (as well as other Police Chiefs before and after him)J
authorized, tolerated as institutionalized practices and ratified its police officers’ misconduct by,

among other thingsl

 

 

 

a. Failing to properly discipline restrict, and control its employees including
Defendant SL]l\/lACK, who, according to public records requests and his lnternal
Affairs file, was known to be unnecessarily violent in his treatment of persons in
the community, especially members of minority groups and women;

b. Failing to establish and administer meaningful and effective departmental _
processes and procedures for dealing with police misconduct complaints;

c. Systematically and summarily responding to such complaints with bureaucratic
responses and perfunctory denials intended to mislead and/or appease the public
and without due regard to the evidence

57_ The abuse sustained by Ms. JACKSON due to the excessive and unnecessary
force used by MlAMI-DADE COUNTY and its employee Defendant SL]MACK, is part of a
larger and historically repetitive pattern of use of excessive force, which amounts to an unofficial
cu stem and/or policy by MlAMI-DADE COUNTY, and which was adopted and approved by the
MDPD’s then Police Chief`, J.D. Patterson (as well as other MDPD Police C.hiefs before and after
him)_

58. _ For many years the MlAMI-DADE POLICE DEPARTMENT has repeatedly
been the subject of numerous civilian complaints and investigations into police misconduct and
use of excessive force Many MDPD police officers, including Defendant SLIMACK,` are repeat
offenders who are either not disciplined or receive only a “slap on the wrist,” and are
emboldened by the COUNTY’s inaction to continue the same behavior without fear o_f
disciplinary action or other repercussions

59. MIAMI-DADE COUNTY has historically failed to discipline or prosecute
officers for known incidents of excessive use of force, to adequately investigate complaints of

excessive use of force, and to take corrective action despite overwhelming evidence of excessive

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use of force by MDPD officers The incident that is the subject of this Complaint is not an

isolated incident, but rather one of countless others in a pattern and practice of misconduct that -
has been historically accepted and/or condoned by the l\/HAMI-DADE POLICE DEPARTMENT
and its then Police Chief, J.D. Patterson, as well as by other MDPD Police Chiefs before and
after him_

60. Upon information and belief, Defendant SL]MACK has been cited or investigated
on numerous occasions by the MDPD’s Internal Affairs Section for similar misconduct, and
MIAMI-DADE COUNTY had prior notice of Defendant SL]MACK’s propensity to use
excessive force and/or to abuse his position as a police officer, but took no meaningful steps to
stop his unlawful use of authority.

61. This is an action at law against Defendants to redress the deprivation under color
of law, statute, custom or usage, of those rights, privilegesJ and immunities secured to Ms.
JACKSON by the Fourteenth Amendment of the United States Constitution and 42 U_S.C §
1983, for deprivation of her right to equal protection, to be free from discrimination on the basis
of her gender and race, and for committing various torts and violations arising under the laws
and statutes of the State'ofFlorida_

62. As a result of these unconstitutional and tortuous actions by the DefendantsJ Ms.
JACKSON sustained serious injury to her jaw and scarring of her face, and also suffered great
emotional trauma and humiliation

COUNT I
Unnecessary/Excessive Use of Force
Pursuant to 42 U.S.C. § 1983
(Against Defendant Slimack, Individually)
63. Plaintiff realleges paragraphs l through 62 of the allegations as if fully set forth

herein

 

 

 

   

64. On January l, 2014, Defendant SLIMACK, acting under color of state law in the
course and scope of his duties with the 1\/[DPD, unlawfully seized and detained Ms. ]ACKSON.

65. ln the course of Ms. JACKSON’s detention, Defendant SL]MACK, acting under
color of state law and in the course and scope of his duties with the MDPD, employed patently
unreasonable and excessive force against Ms. JACKSON under the circumstances.

`66_ Specifrcally, in the course of the detention of Ms. ]ACKSON, whom Defendant
SLIMACK knew not to be a threat or a suspect and knew to be suffering from a broken jaw,
Defendant SLIMACK, exceeding the scope of his duties with the MDPD, grabbed Ms.
JACKSON by the arm and back of the neck and slammed her face and upper body onto his
marked police car causing Ms_ JACKSON excruciating pain and damage to her jaw.

67_ During her detention, Ms_ JACKSON did not take any action that objectively or
subjectiver could have been perceived as posing any threat to the safety of Defendant
SLIMACK_

68_ The unlawful arrest and excessive force suffered by Ms. JACKSON at the hands
of Defendant SLIMACK was in violation of then clearly-established constitutional law
interpreting the Fourth, Eighth, and Fourteenth Amendments to the United'States _Constitution
guaranteeing protection from unreasonable seizures, the right to be free from cruel and unusual
punishment, and the right to due process

69_ As a direct and proximate result of the constitutional violations described herein
and committed by Defendant SLIMACK, Ms. JACKSON suffered physical and emotional
injuries and will continue to suffer damagesl

70. Defendant SL]MACK, acted maliciously and with intent to cause serious bodily

injury to Ms. JACKSON.

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71_ ln using such excessive and unreasonable force against Ms. JACKSON,
Defendant SLIMACK, acted in a manner that was reckless and callously indifferent to Ms_
JACKSON’s rights under the Fourth, Eighth, and Fourteenth Amendments to the United States
Constitution.

72. Pursuanr to 42 U.s.C. '§ 1988, sHAREEsE PETERS JACKSON seeks attorneys _
fees in bringing and prosecuting this action.

WHEREFORE, Plaintiff SHAREESE PETERS JACKSON demands judgment against
Defendant SL[MACK in his individual capacity, including costs and reasonable attorneys’ fees
pursuant to 42 U_S.Cl § 1988.

LJM
State Law Battery
(Against Defendant Slimack)

73. Plaintiff realleges paragraphs l through 62 of the allegations as if fully set forth
herein.

74. On January l, 2014, Defendant SL]]V[ACK, acting in the course and scope of his
employmentj did batter, touch, and otherwise strike Ms. JACKSON without her consent and
against her [Will.

75 _ Defendant SL[MACK intentionally grabbed Ms. JACKSON by the arm and the
back of the neck, and slammed her face and upper body against his marked police car.

76. The conduct of Defendant SL]].\/IACK was objectively unreasonable and
constituted unnecessary and excessive force committed during the course and scope of his
employment

77_ Defendant SLIMACK’s battery of Ms. ]ACKSON, as set forth above, was
accomplished by abuse of SL]MACK’s position as a law enforcement officer employed by

M]AMI-DADE COUNTY.
l l

 

 

78. As a direct and proximate result of the actions of the Defendant SLIMACK, Ms_

JACKSON has suffered damages, and will continue to suffer into the Biture, which include
physical suffering, the aggravation of a pre-existing condition, pain and suffering, disfigurementJ
impairment of work ability, medical expenses, loss of time, mental suffering, humiliation,
disgrace, loss of enjoyment of life, and has and will continue to incur medical expenses in the .
treatment of her injuries

WHEREFORE, Plaintiff SHAREESE PETERS JACKSON requests compensatory
damages from Defendant -SLll\/IACK for past and future physical injury, bodily pain, mental
pain, humiliation, and all other damages cited above, court costs, and, and any further relief this
court deems just and proper

wm
Unofficial Policy, Practice, Procedure of Custom of Excessive Force
42 U_S.C_ § 1983
(Against Miami-Dade County)

79. Plaintiff realleges paragraphs 1 through 62 of the allegations as if fully set forth
herein_

80. At all times relevant to this action, Defendant .MIAMI~DADE COUNTY had an
unofficial policy, practice, procedure and/or custom of allowing police officers to use excessive
force with there being no imminent threat to the police officers

81. The aforementioned policies, practices, procedures and/or customs were
consciously chosen and officially sanctioned by M]AMI~DADE COUNTY policymakers
AlternativelyJ the aforementioned policies, practices, procedures, and/or customs were so
widespread and longstanding that MIAMI-DADE COUNTY’s policymakers must have known

and therefore, were considered unofficial custom, usage, and practice with the force of law_

Nonetheless, no action was taken to stop it.

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82. Defendant l\/I[AMI-DADE COUNTY permitted this unofficial policy and practice

to continue by failing to investigate and discipline officers, such as Defendant SL[MACK, who
were the subject of numerous complaints for excessive use of force.

83. Defendant l\/l]AMI-DADE COUNTY permitted this unofficial policy and practice
to continue by failing ton conduct any reasonable investigation into the numerous complaints .
Defendant SLIl\/IACK received for using excessive force.

84_ This unofficial policy, practice, procedure and/or custom caused the violation of
Ms. JACKSON’s constitutional rights under the Fourth, Eighth and Fourteenth Amendments to
the United States Constitution.

85. Defendant i\/HAMI-DADE COUNTY instituted a program that it either knew or
should have known would amount to excessive force improperly being used on citizens by
Defendant SLIMACK and other MDPD police officers

86_ This unofficial policy of excessive force amounts to a department-wide exhibition
of deliberate indifference to the constitutional rights of Plaintiff and other similarly situated
members of the public.

87_ By instituting_this grossly unconstitutional unofficial policy, practice, procedure,
and/or custom, Defendant MIAMI-DADE COUNTY exhibited a willful, wanton and callous
disregard for the constitutional rights of Ms. JACKSON_

88. Defendant MIAMI-DADE COUNTY implemented and controlled this unofficial
policy, practice, procedure, and/or custom and encouraged its officers to utilize this unofficial
policy that it knew would improperly and unconstitutionally result in serious injury to
individuals in the communityl

89. Defendant MlAMI-DADE COUNTY had direct and actual, or at least

constructive, knowledge of the constitutional violations that were occurring under its policy of

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excessive force, as Defendant SL]]VIACK has been involved in numerous situations where
complaints of Defendant SL[MACK’s excessive use of force have been reported to the MIAMI-
DADE POLICE DEPARTMENT and its lntemal Affairs Section.

90. The moving force behind Ms. JACKSON’s injuries was MlAMI-DADE
COUNTY’s deliberate indifference to her constitutional rights. l\/llAMI-DADE COUNTY _
ignored the constitutional rights of members of the public who were consistently being subjected
to Defendant SLIMACK’ s unlawful conduct

91_ Ms_ JACKSON’s injuries were the obvious consequence of, and are directly
linked to, the customary practices of MlAMI-DADE COUNTY, its MlAMI-DADE POLICE
DEPARTMENT, and Defendant SLIMACK.

92. As a direct and proximate result of the actions of MlAMI-DADE COUNTY, as
described herein, Defendant SL]MACK was permitted to continue a pattern and custom of using
excessive force in violation of the constitutional rights of Ms. JACKSON.

93. As such, Ms_ JACKSON seeks compensatory damages, costs, and all other relief
that this Honorable Court deems just and proper.

WHEREFORE, Plaintiff SHAREESE l’E'I`ERS JACKSON demands judgment against
MlAMl-DADE COUNTY, including costs, reasonable attorneys’ fees pursuant to 42 U.S.C_ §
1988, and any other relief this Court deems just and proper l

COUNT IV
State Law Battery
(Against Defendant Miami-Dade County)
94. Plaintiff realleges paragraphs l through 62 of the allegations as if fully set forth

herein. `

14

 

 

 

 

95. On lanuary l, 2014, Defendant SLIMACK, acting in the course and scope of his
employment, did batter, touch, and otherwise strike Ms. JACKSON without her consent and
against her will.

96. Defendant SL]MACK intentionally grabbed Ms. JACKSON by the arm and the
back of the neck, and slammed her face and upper body against his marked police car.

97_ Defendant MIAMI-DADE COUNTY is vicariously liable for the actions of
Defendant SLIMACK.

98. The conduct of Defendant sLtMACk for which nnAi\n-DADE coUNTY is
responsible was objectively unreasonable and constituted unnecessary excessive force committed
during the course and scope of employment.

99. The battery was carried out by an abuse of Defendant SL]MACK’s position as a
law' enforcement officer employed MlAl\/H-DADE COUNTY and the MDPD.

100_ Defendant SL]l\/lACK’s actions caused Ms. JACKSON physical harm and were
committed without the Ms. JACKSON’s consent

lOl. As a direct and proximate result of the above mentioned unlawful acts of
Defendant SLIMACK, while operating as an agent, servant, and/or employee of Defendant
MIAMI-DADE COUNTY, and by and though the unconstitutional policies, customs, and
practices of the Defendant MIAMI-DADE COUNTY, Ms. JACKSON has suffered damages,
and will continue to suffer into the future, which include physical suffering, the aggravation of a
pre-existing condition, pain and suffering, disfigurement, impairment of work ability, medical
expenses loss of time, mental suffering humiliation, disgrace, loss of enjoyment of lifeJ and has
and will continue to incur medical expenses in the treatment of her injuries

VllI-IEREFOREJ Plaintiff SHAREESE PETERS JACKSON requests compensatory

damages from Defendant MIAMI-DADE COUNTY for past and future physical injury, bodily
15 `

 

 

 

pain, mental pain, humiliation, and all other damages cited above, court costsJ and, and any

further relief this court deems just and proper
Ml
Failure to Train
Pursuant to 42 U.S.C. § 1983
(Against Miami-Dade County)

102. Plaintiff realleges paragraphs l through 62 of the allegations as if fully set forth n
herein.

103. l\/HAMI-DADE COUNTY failed to properly and adequately train Defendant
SLIMACK regarding his propensity to use excessive force during routine responses to
disturbances

104_ The need for such training was plainly obvious to MlAMI-DADE COUNTY,
including its final policymakers as such conduct deals with a clear constitutional duty that is
certain to arise in situations that police officers, including Defendant SLIMACK, face on a
regular basis

105. MIAMI-DADE COUNTY’s failure to train amounted to deliberate indifference to
the rights of the Ms. JACKSON and other members of the public with whom Defendant
SLIMACK came into contact.

106. This failure to train caused Defendant SL]IMACK to violate Ms_ JACKSON’s
rights under the Fourth, Eighth, and Fourteenth Amendments of the United States Constitution.

107. MIAMI-DADE COUNTY’s failure to train caused Defendant SL]MACK to use
excessive force and unlawfully arrest Ms. JACKSON, who was not posing a threat to Defendant
SL]MACK or to anyone else_

108_ MIAMI-DADE COUNTY was deliberately indifferent to Ms. JACKSON’s rights

under the Fourth, Eighth, and Fourteenth Amendments to the United States Constitution

16

 

 

 

guaranteeing protection from unreasonable seizures the right to be free from cruel and unusual

punishments and the right to due process

109. Based upon the number of prior excessive use force claims against l\/llAi\/II-
DADE POLICE DEPARTMENT police officer and the complaints against Defendant
SL[MACK, MIAMI-DADE COUNTY knew or should have known that there was a need to train _
and supervise Defendant SL[MACK.

110. As a direct and proximate result of the actions of MIAMI-DADE COUNTY, Ms
JACKSON has suffered damages and will continue to suffer into the future, which include
physical suffering, the aggravation of a pre-existing condition, pain and suffering, distigurement,
impairment of work ability, medical expenses loss of time, mental suffering, humiliation,
disgrace, loss of enjoyment of life, and has and will continue to irrcur medical expenses in the
treatment of her injuries

lll. Pursuant to 42 U.S.C. § 1988, SHAREESE PETERS JACKSON seeks attorneys’
fees in bringing and prosecuting this action.

WI~]]~EREFORE, Plaintiff SHAREESE PETERS JACKSON demands judgment against
Defendant MIAMI-DADE COUNTY, including costs reasonable attorneys’ fees pursuant to 42
U.S_C. § 1988, and any other relief this Court deems just and proper

DEMAND FOR JURY TRIAL
Plaintiff SHAREESE PETERS JACKSON demands trial by jury on all issues so triable

Respectfully submitted,

[Signature Block on Following Page]

17

 

 

 

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18

 

 

 

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in THE CtRcUrr counr or THE 11th
JUDICIAL ctRCUrT in AND ron
nnAi\/n-DADE CouNTY, FLoRn)A

SHAREESE PETERS ]ACKSON, ` CASE NO. 1 2017-026994 CA 32
Plaintiff,

v.

l\/HAMI-DADE COUNTYJ a municipal entity',

MARK H. SL[MACK, in his individual and

his official capacity as a Miami-Dade County

Police Of`ficer,

Defendants
/

 

Al\/[ENDED COMPLAINT

Plaintiff, SHAREESE PETERS JACKSON (“Ms. JACKSON’), by and through
undersigned counsel, sues Defendants MIAM'f-DADE COUNTY (“MlAMl-DADE COUNTY”
or the “COUNTY”)J and MA_RK H_ SL[MACK (“SL[MACK”)7 and in support thereof alleges as
follows

JURISDICTION AND VENUE

l_ -This is an action for damages in excess of Fifteen thousand dollars ($15,000.00),
exclusive of attorneys’ fees costs and interest

2. Plaintiff’s claims arise pursuant to the Civil Rights Act of 1871, 42 U_S.C_
§1983, 42 U.S.C. § 1988, and the Fourth and Fourteenth Amendments of the United States
Constitution, as well as under the laws of the State of Florida.

3_ This action arises from the excessive use of force against, and the unlawful

detention and arrest of, SHAREESE PETERS JACKSON by Defendant SL]MACK, a Miami-

{10944/00522812.1}

 

 

 

Dade County Police officer, in violation of Ms. JACKSON’s constitutionally protected rights as

guaranteed by the United States Constitution, the laws of the State of Florida, and common law.

4. All conditions precedent to the maintenance of this action have been performed or
have occurred prior to the filing of this action.

PARTIES

5. Plaintiff, SHAREESE PETERS JACKSON, is a resident of Miarni-Dade County,
Florida and is otherwise sui juris

6. Ms. JACKSON is an African-American female, who is 5’3” tall and, at all
material times to this Complaint, weighed approximately 105 pounds

7. Defendant, MlAl\/[I-DADE COUNTY, is a political subdivision of the State of
Florida.

8. MIAMI-DADE COUNTY operates and controls and the Miami-Dade Police
Department (“MDPD”), its police officers employees agents and representatives including, but
not limited to, Defendant SLIMACK.

9_ At all material times Defendant SLIMACK was employed by the MDPD as a
police officer and was acting within the course and scope of his employment with the MDPD,
which department is in turn, operated and controlled by Defendant MlAMI-DADE COUNTY.

10. At all material times Defendant SLll\/IACK was licensed by the State of Florida
to work as a police officer, and is otherwise sui juris

11. Defendant SLIMACK is being sued in his individual capacity, as well as in his
official capacity for his actions as a police officer for the MDPD_

12. Defendant SLIMACK’s MDPD badge number is 4512_

GENERAL ALLEGATIONS APPLICABLE TO ALL COUNTS

{10944/00522312.1}

 

 

13_ On or about January 1, 2014,-Defendant SLIMACK responded to a call involving
an alleged fight at Hunter’s Hurricane Lounge, located at 29301 S.W. 152nd Avenue, in
Homestead, Miami-Dade County, Florida (“Hunter“s Lounge”).

l4_ Outside of Hunter’s Lounge, Defendant SL]MACK illegally and deliberately used
excessive force and unlawfully arrested Ms. JACKSON, in violation of multiple Miami-Dade _
County Police Department policies and well-established law.

15. Defendant SLIMACK’s actions resulted in Ms. JACKSON suffering serious
injuries and other damages

16. Defendant SLIMACK’s use of excessive force and his unlawful arrest of Ms.
]ACKSON resulted in Ms. JACKSON being detained for 24 hours in a holding cell and suffering
severe injuries

17. Upon information and belief, Defendant _SLIMACK has been employed as a
police officer with the MDPD since at least 1998.

18. Upon information and belief, during the term of Defendant SLIMACK’s

employment as a police officer with the MDPD, the MDPD’s Professional Compliance Bureau’s

'lntemal Affairs Section has received at least sixteen (16) complaints 'against Defendant

SL[MACK (the “lnternal Affairs Complaints”).

19. At least ten (10) of the sixteen (16) lnternal Affairs Complaints against Defendant
SLIMACK involved the alleged use of excessive force by Defendant SL]MACK.

20_ l Upon information and belief, approximately 85% of the Internal Affairs
Complaints against Defendant SL]MACK have come from ethnic minorities and 100% of them

have been filed either by ethnic minorities or women

{10944/00522812.1}

 

 

 

21. Prior to the incident that is the subject of this action, Ms. JACKSON had suffered

a brokenjaw and had undergone two surgeries to correct it -- one on November 26, 2013 and the
other on December 23, 2013_

22_ As part of Ms JACKSON’s post-operative treatment, she was prescribed pain
medication to alleviate the pain resulting from her surgeries

23_ On December 31, 2013, Ms_ ]ACKSON accompanied her fiancé, Willie Allen,
and her cousin, Eugene Peters, to Hunter’ s Lounge to celebrate the New Year_

24. While at Hunter’s Lounge, Ms. JACKSON’s fiance and her cousin were harassed
by a group of men who appeared to be trying to start a fight

25. Shortly thereafter, the'MDPD received a complaint regarding a fight at Hunter’s
Lounge, and Defendant SLIMACK responded to the call.

26. When Defendant SL]MACK arrived at Hunter’s Lounge, Ms JACKSON, her
fiancé, and her cousin were standing outside the premises waiting for the police to arrive

27. Upon seeing Defendant SL[MACK, Ms. JACKSON immediately requested his
help, and specifically told him that she was recovering from a broken jaw.

28, Defendant SL]IMACK responded by pushing Ms_ JACKSON aside, telling her
that he was not there for her.

29_ Defendant SLIMACK then entered Hunter’s Lounge and, after not finding the
alleged fight, went back outside to speak with Ms. JACKSON.

30. At that point, when Defendant SLII\/[ACK attempted to speak with Ms_
JACKSON, she refused to talk to him and told him that he had behaved like an “asshole” and no

longer needed his help.

{10944/00522812.1}

 

 

31_ In response to Ms. JACKSON’s comment, Defendant SLIMACK grabbed Ms.
JACKSON by the arm and the back of the neck7 and violently slammed her face and upper body
against his marked police car.

32_ As Defendant SLIMACK continued to smash Ms. JACKSON’s face and jaw
against his police vehicle, he told her that “since [she had] called [him] an asshole, [he would] _
show [her] an asshole.”

33. Defendant SLll\/IACK then began to choke Ms. JACKSON by pushing her face
down with increasing force against his marked police car_

34. _ By this point, Ms. JACKSON was in excruciating painland kept telling Defendant
SLIMACK “You’re choking mel You’re supposed to help me_”

35. Defendant SL[MACK then ordered Ms. JACKSON to put her hands behind her
back_ Ms_ JACKSON promptly complied and Defendant SLIMACK proceeded to handcuff her_

36. Defendant SLll\/lACK then told Ms. JACKSON that he could smell alcohol on
her and accused her of being drunk.

37_ Ms JACKSON then informed Defendant SLIMACK that she had not been
drinking because she was taking a prescription medication because of her broken jaw and her
surgeries

38. Ms. JACKSON specifically and repeatedly asked Defenth SL[MACK to give
her a breathalyzer test_ n

39. Despite Ms. JACKSON’s insistence, Defendant SLIMA_CK refused to conduct a
breathalyzer or any type of field sobriety tesn and simply arrested Ms. .TACKSON for alleged

disorderly intoxication

{10944/00522812.1}

 

 

 

 

40. During the entire time Ms JACKSON interacted with Defendant SL]MACK, Ms.
JACKSON refrained from any actions that would be deemed as inciting violence or as a breach
of the peace

41. Defendant SLIl\/IACK then transported Ms JACKSON to a holding cell where
she was detained for approximately 24 hours

42_ During her detention, Ms. JACKSON repeatedly complained about the severe
pain in her jaw and asked for medical assistance However, despite her pleas Ms. JACKSON
was not provided with any medical assistance

43. During her detention, Ms JACKSON’s jaw began to swell significantly

44. Following Ms. JACKSON’s release, her jaw continued to swell and the pain
progressiver worsened

45. A few days later, on or about January 8, 2014, Ms. JACKSON was unable to
withstand the pain from her swollen jaw and sought medical attention Upon examining Ms
JACKSON, her physician informed her that her jaw had become seriously infected, and he
prescribed antibiotics

46. Although Ms. JACKSON took the antibiotics prescribed by her doctor, her jaw,
continued to swell and her pain worsened.

47. Several days after that, on or about January 12, 2014, Ms. JACKSON’s` jaw began
to ooze pus and she had to be taken to the emergency room_

48_ Ms ]ACKSON was subsequently admitted to the hospital where she remained
hospitalized for almost one week.

49_ During her hospitalization Ms. JACKSON was treated for the infection in her
jaw, and the procedure that had to be performed to drain the affected area resulted in permanent

scarring to Ms. JACKSON’ s face

{10944/00522312_1}

 

 

 

 

 

50. The unfounded charge .of “disorderly intoxication” alleged by Defendant
SLIMACK against Ms. JACKSON was dismissedl

51. ln addition to the foregoing allegations involving Defendant SL]MACK’s use of
excessive force against Ms_ JACKSON, the MDPD’s Intemal Affairs records also show that
Defendant SLIMACK has been the subject of numerous similar complaints evidencing
Defendant SLIMACK’s continued practice and use of excessive force

52. All MDPD officers including Defendant SLIMACK, are subject 'to the
procedures set forth in Chapter 31 of the Miami Dade Police Department Standard Operating
Procedures governing M_DPD officers’ use of force (the “MDPD Procedures”).

53. Despite being subject to the MDPD Procedures on January 1, 2014, Defendant
SL]MACK failed to comply with the standards set forth in these Procedures which resulted not
only in Ms. JACKSON being unlawfully arrested, but also in her suffering serious injury and
scarring to her face

54_ Defendant MlAMI-DADE COUNTY failed to adequately train and educate
MDPD police officers including Defendant SL[MACK, in the use of reasonable and proper
force, and failed to enforce the MDPD Procedures

55. In addition, Defendant M[AMI-DADE COUNTY failed to conduct any
investigation into whether there were policies and training in place to prevent the incident at
issue in this Complaint, or whether Defendant SLIMACK conducted himself properly and in
compliance with the MDPD Procedures.

56_ Defendant MlAl\/ll-DADE COUNTY, specifically with the knowledge of the
MDPD’s Police Chief, J.D. Patterson (as well as other Police Chiefs before and after him),
authorized, tolerated as institutionalized practices and ratified its police officers’ misconduct by,

among other things:

{10944/00522812.1}

 

 

 

 

a. Failing to properly discipline, restiict, and control its employees including
Defendant SL[MACK, who, according to public records requests and his lnternal
Affairs file, was known to be unnecessarily violent in his treatment of persons in
the community, especially members of minority groups and women;

b. Failing to establish and administer meaningful and effective departmental _
processes and procedures for dealing with police misconduct complaints

c. Systematically and summarily responding to such complaints with bureaucratic
responses and perfunctory denials intended to mislead and/or appease the public

_ and without due regard to the evidence

57. The abuse sustained by Ms_ JACKSON due to the excessive and unnecessary
force used by MIAMI-DADE COUNTY and its employee, Defendant SLIMACK, is part of a
larger and historically repetitive pattern of use of excessive force, which amounts to an unofficial
custom and/or policy by MlAMI-DADE COUNTY, and which was adopted and approved by the
MDPD’s then Police Chief`, J.D. Patterson (as well as other MDPD Police Chiefs before and after
him).

58. For many years the MlAMl-DADE POLICE DEPARTMENT has repeatedly
been the subject of numerous civilian complaints and investigations into police misconduct and
use of excessive force Many MDPD police officers including Defendant SL[MACK, are repeat
offenders who are either not disciplined or receive only a c‘slap on the wrist,” and are
emboldened by the COUNTY’s inaction to continue the same behavior without fear of
disciplinary action or other repercussions
l 59. MIAMI-DADE COUNTY has historically failed to discipline or prosecute
officers for known incidents of excessive use of force, to adequately investigate complaints of

excessive use of force, and to take corrective action despite overwhelming evidence of excessive

{10944/00522312.1}

 

 

use of force by M‘DPD officers The incident that is the subject of this Complaint is not an

isolated incident, but rather one of countless others in a pattern and practice of misconduct that
has been historically accepted and/or condoned by the MIAMI-DADE POLICE DEPARTMENT
and its then Police Chief, J.D. Patterson, as well as by other MDPD Police Chiefs before and
after him.

60. Upon information and belief, Defendant SL]MACK has been cited or investigated
on numerous occasions by the MDPD’s lnternal Affairs Section for similar misconduct, and
h/[IAMI-DADE COUNTY had prior notice of Defendant SL]MACK’s propensity to use
excessive force and/or to abuse his position as a police officer, but took no meaningful steps to
stop his unlawful use of authorityl

61_ This is an action at law against Defendants to redress the deprivation, under color
of law, statute, custom or usage, of those rights privileges and immunities secured to Ms_
JACKSON by the Fourteenth Amendment of the United States Constitution and 42 U.S.C §
1983, for deprivation of her right to equal protection, to be free from discrimination on the basis
of her gender and race, and for committing various torts and violations arising under the laws
and statutes of the State of Florida.

62. As a result of these unconstitutional and tortuous actions by the Defendants Ms_
JACKSON sustained serious injury to her jaw and scarring of her face, and also suffered great
emotional trauma and humiliation

M_I.
Unnecessary/Excessive Use of Force
Pursuant to 42 U.S.C. § 1983
(Against Defendant Slimack, Individually)
63_ Plaintiff realleges paragraphs 1 through 62 of the allegations as if fully set forth

herein

{10944/00522812_1}

 

 

 

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64. On lanuary l, 2014, Defendant SL_[MACK, acting under color of state law in the

course and scope of his duties with the l\/fDPD, unlawfully seized and detained Ms. JACKSON_

65. ln the course of Ms. JACKSON’s detention, Defendant SLIMACK, acting under
color of state law and in the course and scope of his duties with the MDPD, employed patently
unreasonable and excessive force under the circumstances

66_ Specifically, in the course of the detention of Ms. JACKSON, whom Defendant
SLIMACK knew not to be a threat or a suspect and knew to be suffering from a broken jaw,
Defendant SLIMACK, exceeding the scope of his duties with the MDPD, grabbed Ms
JACKSON by the arm and back of the neck and slammed her face and upper body onto his
marked police car causing l\/Is._ JACKSON excruciating pain and damage to her jaw.

67_ During her detention, Ms. JACKSON did not take any action that objectively or
subjectiver could have been perceived as posing any threat to the safety of Defendant
SL]l\/[ACK_

68_ The unlawful arrest and excessive force suffered by Ms. JACKSON at the hands
of Defendant SLIMACK was in violation of then clearly-established constitutional law l
interpreting the Fourth, Eighth, and Fourteenth Amendments to the United 'States Constitution
guaranteeing protection from unreasonable seizures the right to be free from cruel and unusual
punishment, and the right to due process

69. As a direct and proximate result of the constitutional violations described herein
and committed by Defendant SL]`MACK, Ms_ JACKSON suffered physical and emotional
injuries and will continue to suffer damages

70. Defendant SLIl\/lACK, acted maliciously and with intent to cause serious bodily

injury to MS. JACKSON.

{10944/00522812_1}

 

 

 

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71. In using such excessive and unreasonable force against Ms_ .TACKSON,
Defendant SL[MACK, acted in a manner that was reckless and callously indifferent to Ms_
JACKSON’s rights under the Fourth, Eighth, and Fourteenth Amendments to the United States
Constitution.

72. In violating Ms. JACKSON’s constitutional rights Defendant SL[MACK sought _
to continue his consistent practice of applying excessive force Ms JACKSON accordingly
seeks punitive damages against Defendant SL[MACK_

73. Pursuant to 42 U.S.C. § 1988, SHAREESE PETERS JACKSON seeks attorneys’
fees in bringing and prosecuting this action 7

WHEREFORE, Plaintiff SHAREESE PETERS JACKSON demands judgment against
Defendant SLIMACK in his individual capacity, including costs and reasonable attorneys’ fees
pursuant to 42 U.S_C. § 1988.

C_<HJN_TLI_
Unofficial Policy, Practice, Procedure of Custom of Excessive Force
42 U.S.C. § 1983
(Against Miami-Dade _County)

74. Plaintiff realleges paragraphs l through 62 of the allegations as if fully set forth
herein 1

75. At all times relevant to this action, Defendant MIAMI-`DADlEL COUNTY had an
unofficial policy, practice, procedure and/or custom of allowing police officers to use excessive
force with there being no imminent threat to the police officers

76_ The aforementioned policies practices procedures and/or customs were
consciously chosen and officially sanctioned by MIAMI-DADE COUNTY policymakers

Alternatively, the aforementioned policies practices procedures and/or customs were so

widespread and longstanding that MlAMI-DADE COUNTY’s policymakers must have known

{10944/00522812!.1}

 

 

 

 

 

and therefore, were considered unofficial custom, usage, and practice with the force of law_
Nonetheless, no action was taken to stop it.

77. Defendant MIAMI-DADE COUNTY permitted this unofficial policy and practice
to continue by failing to investigate and discipline officers such as Defendant SL[MACK, who
were the subject of numerous complaints for excessive use of force

78. Defendant MlAMI-DADE COUNTY permitted this unofficial policy and practice
to continue by failing to conduct any reasonable investigation into the numerous complaints
Defendant SL]MACK received for using excessive force

79. This unofficial policy, practice, procedure and/or custom caused the violation of
Ms. JACKSON’s constitutional rights under the Fourth, Eighth and Fourteenth Amendments to
the United States Constitution.

80_ Defendant MIAM]-DADE COUNTY instituted a program that it either knew or
should have known would amount to excessive force improperly being used on citizens by
Defendant SLIMACK and other MDPD police officers

81_ This unofficial policy of excessive force amounts to a department-wide exhibition
of deliberate indifference to the constitutional rights of Plaintiff and other similarly situated
members of the public

82. By instituting this grossly unconstitutional unofficial policy, practice, procedure,
and/or custom, Defendant MIAMI-DADE COUNTY exhibited a willfulJ wanton and callous
disregard for the constitutional rights of Ms. JACKSON.

83. Defendant MlAMI-DADE COUNTY implemented and controlled this unofficial
policy, practice, procedure, and/or custom and encouraged its officers to utilize this unofficial
policy that it knew would improperly and unconstitutionally result in serious injury to

individuals in the communityl

{10944f00522812.1}

 

 

 

84. Defendant MlAMI-DADE COUNTY had direct and actual, or at least

constructive, knowledge of the constitutional violations that were occurring under its policy of
excessive force, as Defendant SLIMACK has been involved in numerous situations where
complaints of Defendant SLIMACK’s excessive use of force have been reported to the MlAl\/ll-
DADE POLICE DEPARTMENT and its lnternal Affairs Section

85_ The moving force behind l\/Is JACKSON’s injuries was MIAMI-DADE
COUNTY’s deliberate indifference to her constitutional rights MIAMI-DADE COUNTY
ignored the constitutional rights of members of the public who were consistently being subjected
to Defendant SLll\/fACK’s unlawful conduct l

86, Ms. JACKSON’s injuries were the obvious consequence of`, and are directly
linked to, the customary practices of MlAMl-DADE COUNTY, its MlAMI-DADE POLICE
DEPARTMENT, and Defendant SLii\/[ACK.

8?_ As a direct and proximate result of the actions of MlAMl-DADE COUNTY, as
described herein, Defendant SLIMACK was permitted to continue a pattern and custom of using
excessive force-in violation of the constitutional rights of Ms. JACKSON.

l 88. As suchJ Ms. JACKSON seeks compensatory damages costs,' and all other relief
that this Honorable Court deems just and proper

WI-[EREFORE, Plaintiff SHAREESE PETERS JACKSON demands judgment against
MIAMI-DADE COUNTY, including costs reasonable attorneys’ fees pursuant to 42 U.S.C. §
1988, and any other relief this Court deems just and proper

Ml`_ll_l
Failure to Train

Pursuant to 42 U.S.C. § 1983
' (Against Miami-Dade County)

{10944/00522312_1}

 

 

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89_ Plaintiff realleges paragraphs 1 through 62 of the allegations as if fully set forth

herein

90_ M_lAl\/l]-DADE COUNTY failed to properly and adequately train Defendant
SLIMACK regarding his propensity to use excessive force during routine responses to
disturbances

91, The need for such training was plainly obvious to MIAMI-DADE COUNTY,
including its final policymakers as such conduct deals with a clear constitutional duty that is
certain to arise in situations that police officers including Defendant SL]MACK, face on a
regular basis

92. MlAMI-DADE COUNTY’s failure to train amounted to deliberate indifference to
the rights of the Ms. JACKSON and other-members of the public with whom Defendant
SLIMACK came into contact

93. This failure to train caused Defendant SL]MACK to violate Ms. JACKSON’s
rights under the Fourth, Eighth, and Fourteenth Amendments of the United States Constitution.

94. MIAMI-DADE COUNTYis failure to train caused Defendant SL]MACK to use
excessive force and unlawfully arrest Ms JACKSON, who was not posing a threat to Defendant
SL]MACK or to anyone else.

95 _ 1\/IIAMI-DADE COUNTY was deliberately indifferent to Ms ]ACKSON’s rights
under the Fourth, Eighth, and Fourteenth Amendments ito the United States Constitution
guaranteeing protection from unreasonable seizures the light tO be free from cruel and unusual
punishments and the right to due process
1 96. Based upon the number of prior excessive use force claims against MIAMI-

DADE POLICE DEPARTMENT police officer and the complaints against Defendant

{10944/00522812.1}

 

 

 

 

 

   

SLIMACK, MlAMl-DADE COUNTY knew or should have known that there was a need to train
and supervise Defendant SL[MACK.

97. As a direct and proximate result of the actions of MIAl\/lI-DADE COUNTY, Ms.
JACKSON has suffered damages and will continue to suffer into the future, which include
physical suffering, the aggravation of a pre-existing condition pain and suffering,. disfigurement
impairment of work ability, medical expenses loss of time, mental suffering, humiliation,
disgrace, loss of enjoyment of life, and has and will continue to incur medical expenses in the
treatment of her injuries 7 l

98. Pursuant to 42 U.S.C. § 1988, SHAREESE PETERS JACKSON seeks attorneys’
fees in bringing and prosecuting this action

WHEREFORE, Plaintiff SHAREESE PETERS JACKSON demands judgment against
Defendant MlAMI-DADE COUNTY, including costs reasonable attorneys’ fees pursuant to 42
U.S.C. § 1988, and any other relief this Court deems just and proper

DEMAND FOR JURY TRIAL
Plaintiff SHAREESE PETERS JACKSON demands trial by jury on all issues so triable

Respectfully submitted,

HALL, LAMB HALL & LETO P.A., BERENS, FERNANDEZ & ASSOCIATES, P.A.
Attorneys for Plaintiff Attorneys for Plaintiff

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s/.' Andrew C. Hall s/: Andres F. Fernandez

ANDREW C. HALL ANDRES F. FERNANDEZ

Florida Bar No.: 111480 Florida Bar No.: 111967

MATTHEW P. LETO
Florida Bar No.: 014504

{10944/00522812.1}

 

   

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W

State of Florida County of Nliami-Dade Circiut Court

Case Number: 2017-026994 _CA 32

Plaintiff: '
SHAREESE PETERS JACKSON

VS.

Defendant
NllAM|-DADE COUNTY, a municipal entity; MARK H. SL|N|AK, in his individual and his
official capacity as a Miami-Dade County Police Officer,

For'_ l

lVlallhew P Lelo

Ha|| Lamb and Ha|l P.A.,
2665 Soulh Bayshore Drive'
F'h 1

l`\l'liarnil FL 33133

Received by DLE Process Selvers |nc on the 2nd day of February, 2018 al 2147 pm to be served on lll|iaml-Dade County clc N|ayor
Car|os A. Gimenez, 111 Nw 1 Street, Suite 2910, lllliamf, FL 33128.

|l Chrislopher N|as, do hereby affirm that on the Sth day of February, 2018 al 9:11 am, |:
served a GOVERNN|ENT AGENCY by delivering a lrue copy of the Summons and Complaint with the date and hour of service endorsed

thereon by me, to: Dolty Vazquez as Nlayor's Ass|stant for llr'liami-Dade County clo lVlayor Carlos A. Gimenez, and informed said person
of the conlenls lherer'n, in compliance With State Slatules.

|certify that | am over the age of 18. have no interest in the above action, and am a Certilied Process Server, in good standing, in the
judicial circuit in which the process Was served

Under penalties of perjury, l declare that l have read the foregoing Verified Relurn of Service and lhal the facts stated are lrue. F_S_
92.525. NOTARY NOT REQU|RED F'URSUANT TO F_S. 92.525

 

\,-i

 

Christopher “a?a 691
1623

DLE Process Servers, |nc
936 Sw1stAvenue

#261

|Vliami, FL 33130

(786) 220-5705

Our Job Seria| Number: DLE-2018003112

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X IN THE ClRCUlT COURT OF THE El.EVENTH JUDlClAl_, ClRCUlT lN AND FOR MlAMl-DADE COUNTY, FLOR]DA. m3 'l; b
IN THE COUNTY COURT IN AND FOR MlAMl-DADE COUNTY, FLORIDA. l l j
q 'Z t
ClVIL DIVISI()N CIVIL ACTION SUMMONS CASE NUMBER cr

2017-026994 CA 32

 

PLAINTIFF(s) vs DEFENDANT(s) cLocr< rN

Shareese Peters Jackson MLAMI-DADE COUNTY, a municipal entity;
MARK H. SLIMAK, in his individual and
his official capacity as a Miami-Dade County

 

 

Police Offrcer,
To Defendant(s): Register‘ed Agent Name & Address:
Miami-Dade County Office of The Mayor

C/O Mayor CarlOS A- Gimr»nez 111 NW 1 'srreer, sure 2910, Miami, Florida 33123

 

 

 

A lawsuit has been filed against you. You have twenty (20) calendar days after this summons is served on you to file a written
response to the Counts of the attached Complaint with the clerk of this court A phone call will not protect you; your written
response, including the case number given above and the names of the parties must be filed il` you want the Court to hear your
side of the case. lf you do not file your response on time, you may lose the case, and your wages money, and property may
thereafter be taken without further warning from the Court There are other legal requirements You may want to call an
attorney right away. Ifyou do not know an attorney, you may call an attorney referral service or a legal aid office (listed in the
phone book).

Il'you choose to file a written response yourself, at the same time you tile your written response to the Court, located at:

Dade County Courthouse
C|erk of Courts
Room 133
73 W. Flagler Street
Miami, Florida 33130

Additional Court locations are printed on the back ol` this form.

You must also mail or take a copy of your written responses to the “Plaintil`l`/Plaintiff’s Attorney” named below.

 

 

Plaintiff[Plaintiff Attorney Address:
Matthew P. Leto Hall, Lamb, Hall & Leto, P.A., 2665 South Bayshore Drive, Penthouse One,

Miami, FL 33133

 

 

 

TO EACH SHERIFF OF THE STATE OF FLORIDA: You are commanded to serve this Summons and a copy of

 

 

the Complaint of this lawsuit on the above named defendant '

_ ._;r..r_

  

DATE

estates

Court Scal

CLERK OF COURTS BY:

 

 

 

 

 

 

1109441‘005229|41,'

 

 

 

 

 

IMPOR'I`ANTE

Usted ha sido demandado legalmente. Tiene 20 dias contados a partir del recibo de esta notiticacion, para contestar la
demanda adjunta, por escrito, y presentarla ante este tribunal. Una l|amada teiei`onica no lo protegera. Si usted desea que el
tribunal considere su defensa, debe presentar su respuesta por eserito, incluyendo el numero del caso y los nombres de las
partes interesadas. Si usted no contesta la demanda a tiempo, pudiese perder el case y podria ser despojado de sus ingresos y
propiedades, o privado de sus derechos, sin previo aviso del tribunal. Existen otros requisites legales. Si lo desea, ustead
puede consultar in nn abogado immediatamentc. Si no conoce a un abogado, puede llamar a una de las oficinas dc asistencia
legal que aparencen en la gnia telei'onica.

Si desea responder a la demanda por su cuenta, al mismo tiempo en que presente su respuesta ante el tribunal, debera'
usted enviar por correo o entregar ona copia de su respuesta a la persona demoninada abajo como “Plaintiff/Plaintiff
Attorney” (Demandante o Abogado del Demandante).

 

 

 

 

IMPORTANT

Des poursnites judiciaires ont été entreprises contra vous. Vous avez 20 jours consécutifs a partir de la date de
l’assignation de cette citation pour déposer une réponse écrite a la plainte ci-jointe aupres de ce tribunal. Un simple coup de
telephone est insufi`isant pour vous protéger. Vous étes obligé de déposer votre réponse écrite, avec mention du numéro de
dossier ci-dessus et du nom des parties nommées ici, si vous souhaitez que le tribunal entende votre cause. Si vous ne déposez
pas votre réponse écrite dans le délai requis, vous risquez de perdre la cause ainsi que votre salaire, votre argent, et vos biens
peuvent etre saisis par la suite, sans aucun préavis ultérieur du tribunal. II y a d’autres obligations juridiques et vous pouvez
requérir les services immediats d’un avocat. Si vous ne connaissez pas d’avocat, vous pourricz téléphoner a un service de
reference d’avocats ou a un bureau d’assistance juridique (iigurant a l’annuaire de téléphones)

Si vous choisissez de deposer vous-méme une réponse écrite, il vous faudra égalernent, en méme temps que cette
formalité, faire parvenir ou expédier unc copie de votre réponse écrite au “Plaintil'f or Plaintift"s Attorney” (Plaignant on a son
avocat) nommé ci-dessous.

 

 

 

{10944/005229|4. |}

 

 

